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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 EQUAL EMPLOYMENT
 OPPORTUNITY COMMISSION,

              Plaintiff, and
                                                 No. 17-cv-06753
 ESTATE OF RICHARD RASCHER,                      Judge Franklin U. Valderrama

              Plaintiff-Intervenor

       v.

 S&C ELECTRIC CO.,

              Defendant.

                                       ORDER

       Telephonic status hearing held on 08/10/2021. During the 08/09/2021
settlement conference, the Court repeatedly informed the parties that if they reached
settlement after 4:45 p.m. on 08/09/2021, it would be too late to notify the venire that
was set to report on the morning of 08/10/2021. At 8:14 p.m. on 08/09/2021, the Court
received a joint email from the parties informing the Court that the parties had
settled this case in principle. The Court immediately notified the jury department
that the case had settled. At that point, as the Court had advised, it was too late to
notify the venire that was set to report on the morning of 08/10/2021, but the venire
that reported to the courthouse was released soon after arrival. During the
08/10/2021 status hearing, the parties reported that there were still unresolved
issues, and the case was in fact not settled. Because the Court had relied on the
parties’ joint representation of settlement and released the venire, the 08/12/2021
trial date is hereby stricken. Telephonic status hearing set for 09/16/2021 at 9:30
a.m. The call-in number is (888) 808-6929 and the access code is 5348076. Persons
granted remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court issued media
credentials, restricted entry to future hearings, denial of entry to future hearings, or
any other sanctions deemed necessary by the Court. Should a stipulation to dismiss
the case be filed prior to this status hearing, the Court will strike the hearing.
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Additionally, during the 08/09/2021 settlement conference, the Court repeatedly
notified parties that if they reached settlement after 4:45 p.m. on 08/09/2021, the
Court had the discretion under Local Rule 54.2 to assess the costs of unnecessarily
calling prospective jurors to the courthouse against the parties responsible. As the
parties reported that they had reached settlement after 4:45 p.m., the Court was
unable to avoid the cost of prospective jurors reporting to the courthouse on the
morning of 08/10/2021. Under Local Rule 54.2, the Court accordingly assesses the
08/10/2021 venire costs against Plaintiff EEOC and Defendant S&C evenly in the
amount of $1,465.00 each. Plaintiff EEOC and Defendant S&C are instructed to write
checks payable to “Clerk, US District Court.” The check should reference the case
number, P10003464 (the order number for reimbursement in this case), and the
words, “court cost fund.”



Dated: August 10, 2021
                                             United States District Judge
                                             Franklin U. Valderrama




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